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EXHIBIT 3
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Composite statement: Detention in Afghanistan and
Guantanamo Bay

Shafiq Rasul, Asif Iqbal and Rhuhel Ahmed

1. All three men come from Tipton in West Midlands, a poor area with a small
community of Pakistani and Bangladeshi origin. The school all three attended is
considered one of the worst in England. Rhuhel Anmed and Asif Iqbal who are now
both aged 22 were friends from school, although one year apart. Neither was
brought up religiously but each was drawn towards Islam. Shafiq Rasul is now aged
27 and hada job working at the electronics store, Currys. He was also enrolled at
the University of Central England.

2. This statement jointly made by them constitutes an attempt to set out details of their
treatment at the hands of UK and US military personnel and civilian authorities
during the time of their detention in Kandahar in Afghanistan in late December 2001
and throughout their time in American custody in Guantanamo Bay Cuba. This
statement is a composite of the experiences of all 3. They are referred to throughout
by their first names for brevity. There is far more that could be said by each, but
that task is an open-ended one. They have tried to include the main features.

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complained about the flood lights and the constant lack of sleep. My
complaints ran to some two pages but despite this nothing changed.

119. After two weeks of the hunger strike, General Lenhart came into the
blocks, took his cap off and pleaded with the detainees to eat. They also
started to improve the conditions. Gradually, as more and more people
stopped the hunger strike, we got more food, we were allowed to wear shorts
and we could keep our towels on as we went for a shower. The guards were
also told not to disturb us when we were praying (though they continued to do
this anyway) and we were also allowed, for the first time, to talk more freely to

the person in the cage next tous.

120. Shafiq says of the others in his block (which he shared with Asif), ‘In my block,
which was Bravo block at Camp X-Ray, there were other English speaking
detainees including David Hicks, four French detainees, and Feroz Abbasi. |
remember Feroz was getting a very hard time and he was interrogated more
regularly than the rest of us. They also treated David Hicks in a very
aggressive way. From my recollection, Feroz was a very quiet individual and
as with most people he wouldn't describe what was happening to him. David
Hicks and us three (when we were together) would always talk about our
interrogations and | remember that David Hicks told me the interrogators had
promised to get him prostitutes if he agreed to work with them’.

121. Asif also says of the general conditions, ‘we were also aware, in Camp X-Ray
and later in Delta, that we were being listened to and our conversations were
being recorded. On the question of observation | wish to add that being under
constant observation was an additional stress. We would all joke about it and
sometimes make things up in order to irritate those listening. | know that the
intelligence officers disregarded most of this material but it was all brought up
again and put to us when the video incident took place (see below). The
observations conducted were not just in relation to what we were saying, but
everything we did. They would look to see if we stared at women MPs or
looked down when they walked passed. They looked to see if we used

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instance novels would have large chunks ripped out but we would still read
them because we were so desperate for something to distract ourselves. The
Red Cross told us that they had brought 2000 books but they had
mysteriously disappeared and never got to the detainees.”

137. “We were also told that the Red Cross had brought a large number of
language books. For instance, people were interested to learn Arabic or
English, etc. We briefly had access to them and then they were taken away

_again and we never saw them again.” Shafiq recollects them saying “you're not

here to learn anything, you're a prisoner, you’re here to be punished”.

138. Although in Delta the cages had a sink, with running water and a toilet (squat
toilet) with a flush, (Shafiq says that ‘to go to the toilet we would put up a
blanket, though some MPs would, in the early days, insist on taking these
down’), the cells were smaller than those at Camp X-Ray mainly because there was
a bunk/bed welded to the floor of the container from which the cell block had been
created. This restricted the space. Shafiq still suffers from pain in his back, legs and
knees as a result of the cramped space and lack of exercise (15 minutes twice a
week).

139. (In the first few months, they were allowed a one minute shower per week. Later
this increased to 5 minutes per week and after 7 or 8 months in Detta, they were
allowed 2 showers a week. This was still not enough because as a result of the
heat and the humidity they would be constantly sweating and feel dirty. Most of the
people in the cell blocks grew their beards, but if they shaved they were allowed a
razor for 2 or 3 minutes once a week and then had to hand it back.)

140. When Rhuhel arrived at Delta he went to isolation straight away. He was never
told why. He had not done anything wrong and believes the move was at the
direction of intelligence officers. He stayed in isolation for about one month.

141. After he was taken out of isolation Rhuhel was taken to one of the blocks. He
was put in a cage next to Martin Mubanga, another British detainee. Asif and Shafiq

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were in the same block as David Hicks, Feroz Abbasi and Jamal Hareeth. The only
person, close enough for Rhuhel to speak to though was Martin. Rhuhel says
‘Martin and | would talk about things in the UK, football, boxing and our
interrogations. He was very quiet.

142. During this time they were interrogating Rhuhel every Sunday. They asked the
same questions over and over again. This continued for 6 months. The interrogators
were mostly American though MI5 officers came on one occasion. He always
maintained the same account to his interrogators. They also started to show
photographs of people from the UK (people he did not know).

143. (It was very clear to all three that MI5 was content to benefit from the effect of
the isolation, sleep deprivation and other forms of acutely painful and degrading
treatment including ‘short shackling’ (see below). There was never any suggestion
on the part of the British interrogators that this treatment was wrong or that they
would modify their interrogation techniques to take this into account or the long-term
consequences of isolation, humiliation and despair. All three men express
considerable anger at the fact that the MI5 agents were content and in fact quite
happy that they were long shackled and attached to a hook through-out their

interrogations.)

144. The quality of the questioning was extraordinarily low. Each was asked
repeatedly for names and details of all of his relatives in England, in Pakistan or
Bangladesh or other countries where their families had a connection (in the case of
Asif his father was born in Kenya which led to questioning about bombings in Kenya
in 1998). He was also asked about the ‘Cole’. He did not know what the ‘Cole’ was
(a ship in the Yemen that had been attacked). It was they who told him about these

events.

145. After 6 months Rhuhel was moved to the cell opposite Shafiq. Asif had been
taken to isolation over the incident with the food (see below). (He stayed there for
about one month). This was the first time Rhuhel had seen Shafig since Kandahar.

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Assaults at Guantanamo
165. All three report that when they were at Camp Delta around August 2002 the

medical corps came round to see them and asked if they wanted an injection
although they wouldn't say what it was for. Most of the detainees therefore refused
to have one. A few hours later the medical corps returned, this time bringing the
Extreme Reaction Force (ERF team). The ERF team was dressed in padded gear
so they had pads on from their boots, padded vest, helmets like motorcycle helmets
with visors, thick gloves up to their elbows and some of them had riot shields. They
were always accompanied by someone who filmed them.

166. Rhuhel says ‘the ERF team would come into the cell, place us face down on
the ground then putting our arms behind our backs and our legs bending
backwards they would shackle us and hold us down restrained in that
position whilst somebody from the medical corps pulled up my sleeve and
injected me in the arm. They left the chains on me and then left. The injection
seemed to have the effect of making me feel very drowsy. | was left like that
for a few hours with my legs and arms shackled behind me. If | tried to move
my legs to get in a more comfortable position it would hurt. Eventually the
ERF team came back and simply removed the shackles. | have no idea why
they were giving us these injections. It happened perhaps a dozen times
altogether and | believe it still goes on at the camp. You are not allowed to
refuse it and you don’t know what it is for. Asif and Shafiq describe similar

experiences but they were not left shackled.

167. One example of such an assault happened in the same block as Asif and Shafiq
as well as David Hicks and Feroz Abassi. Jumah al Dousari from Bahrain, who had
lived in America for some time, was already mentally ill. He used to shout all the
time. The guards and the medical team knew he was ill. Whenever soldiers would
walk past his cell he would shout out and say things to them. Not swearing but silly
things. He would impersonate the soldiers. One day he was impersonating a female
soldier. She called the officer in charge, the commander that day, whose name was

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Blanche (the same person who was in charge the day that the dog was brought into
Asifs cell; see below) — a staff sergeant E6, E6 being his rank structure. He came to
the block and was speaking to Jumah. Shafiq says “I don’t know what was said
but the next thing he called the ERF team. While the ERF team was coming he
took the female officer to one side. | heard him say ‘when you go in that cell
you're going to f-ing kick him’. She seemed apprehensive. He kept shouting at
her to make her say back to him what he had said. It was very odd. There were
usually five people on an ERF team. On this occasion there were eight of
them. When Jumah saw them coming he realised something was wrong and
was lying on the floor with his head in his hands. If you’re on the floor with
your hands on your head, then you would hope that all they would do would
be to come in and put the chains on you. That is what they’re supposed to do.
The first man is meant to go in with a shield. On this occasion the man with
the shield threw the shield away, took his helmet off, when the door was
unlocked ran in and did a knee drop onto Jumah’s back just between his
shoulder blades with his full weight. He must have been about 240 pounds in
weight. His name was Smith. He was a sergeant E5. Once he had done that the
others came in and were punching and kicking Jumah. While they were doing
that the female officer then came in and was kicking his stomach. Jumah had
had an operation and had metal reds in his stomach clamped together in the
operation. The officer Smith was the MP Sergeant who was punching him. He
grabbed his head with one hand and with the other hand punched him
repeatedly in the face. His nose was broken. He pushed his face and he
smashed it into the concrete floor. All of this should be on video. There was
blood everywhere. When they took him out they hosed the cell down and the
water ran red with blood. We all saw it.”

168. Asif describes being in isolation. They took his Koran away from him having
already taken his other possessions. His hands were shackled in front of him. He
was looking back. The guard taking him held his neck to push it back so he couldn't
look back. He was pushed into a corner and was punched in the face numerous
times and kneed in his thigh. They opened his chains, put him on the floor of his cell
and then left and locked the door before he could get up. The doctor came shortly

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their governments (it seems they did not know if they were Chinese or from one of
the Southern republics due to their dialect). The detainees admitted to being
Chinese and within one month Chinese officials arrived to interrogate them. The
Chinese officials told them that the US had provided full co-operation. If they are
returned to China they will all be executed. All three men report similar concerns in
relation to the Russian detainees. It seems that a number of these (possibly 20)
have been returned to Russia and their fate is unknown.

8. David Hicks
305. Asif says “! first saw David Hicks in Camp X-Ray. He was a very surprising

sight. A tiny white guy not more than 5’3” with a lot of tattoos on him. He told
us he had endured an extremely bad experience having been held on a ship
where he had been interrogated by Americans and hooded and beaten.
Despite that experience, he was in bettershape then that he was when we last
saw him in Mike block. We thought that he had gone downhill. By downhill
we mean that he seemed to be losing all hope and more willing to co-operate
as aresult. We were interrogated a lot but he used to get interrogated every
two to three days, sometimes every day. He was told that if he didn’t
cooperate he would never go home. It started when he was moved fo Delta,
that he began to be moved all the time. They wouldn’t let him settle with
anyone. We met him again in Mike block after Delta and had the impression
that he was being forced to make admissions, the “force” consisting of offers
of benefits if he co-operated and removal of anything that could make life
slightly easier if he did not. We were aware for instance that he needed
essential medical treatment for a hernia and that he was told he would only
get it if he cooperated. We do not know the reason for his appearance when
he arrived at Mike block; he had always been proud of his hair, but when he
arrived there his head hair was shaved off, although he still had a beard. We
were told by some guards that he was taken to Echo after he started co-
operating and that in Echo he had access to more basic comforts as a reward,
although It is our understanding that he was in Camp Echo i.e. in complete
isolation from the summer of 2003 onwards and we presume still there, where

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the only people he could communicate with would be interrogators. The same
guards also told us that he had been taken out of Echo for another operation,
but we don't know if that is correct

9. The Kuwaitis
306. ‘Fouad Mahmoud Al Rabiah was a businessman, we understand, who had

studied in America and graduated from Miami in aeronautical engineering. To
us he sounded Scottish. He had lived in England/Scotland for approximately
ten years. He was given a particularly hard time, being constantly moved
around, every two hours, after General Miller came to the Camp. He took his
polygraph test and passed a long time ago and was initially sent to the best
section of the Camp but then brought back again after a while. He got
extremely harsh treatment including short shackling. Because he was
educated, we understand, wealthy, and they were determined that he had to
be part of a cell. We understood that he was seized in Pakistan, basically sold
by the Pakistanis and then the Americans invented accusations to try and fit.
ln 2004 the Kuwaiti government came and told all the Kuwaitis that they would
be going home in June. When they wanted to know what would happen to
them when they got home, they were told “you will find out when you get
home.” We could see that he was suffering from serious depression, losing
weight in a substantial way and very stressed because of the constant moves,
deprived of sleep and seriously worried about the consequences for his
children. Every father in the camp had a huge worry about his family which
added to the stress.’ Shafiq recollects when he was next to him in isolation that he
was suffering from serious stomach pains and that medication was denied. He was

told that he couldn’t receive medication unless he cooperated.

10. Other detainees (including detainees sold to the Americans)
307. Asif describes a disturbing number of detainees who have clearly been sold. All

three are convinced that there must be a paper trail which will show huge sums of
money paid out by the USA for many of those now in Guantanamo. These are

some examples (some of the names are familial names, as is customary).

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11. Camp Four
308. Asif says ‘numerous other detainees have been told that their interrogation

has finished, they have passed numerous tests e.g. lie detector, stress
analyser test. They have been taken to Camp 4 but they still have not been

released.

309. It is called a medium security section. When we were in Guantanamo there
were four blocks. One block has four bays in it. Each bay has ten or twelve
people in. Instead of wearing orange they all would be wearing white. These
are the detainees who are always shown on TV playing football. They don’t
wear chains or shackles. They are said to be people who are about to go
home but they yet have been there about one year. These are examples of the
hundreds of people who should never have been in Cuba in the first place.
The authorities seem paralyzed. They can’t send them home, they don’t

bother to interrogate them so they are just stuck.’

Shafig Rasul
Asif Iqbal
Rhuhel Ahmed

26" July 2004

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